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             IN THE UNITED STATES BANKRUPTCY COURT
             FOR THE WESTERN DISTRICT OF OKLAHOMA
In re:                        )
JUAN PABLO VALDEZ             )    Case No. 24-12446-JDL
               Debtor(s)      )    Chapter 13

   DEBTOR’S OBJECTION TO TRUSTEE’S LIMITED MOTION TO STAY ORDER
 PENDING DETERMINATION OF APPEAL WITH NOTICE OF OPPORTUNITY FOR
                  HEARING COMBINED WITH NOTICE OF HEARING
                                NOTICE OF OPPORTUNITY FOR HEARING

Your rights may be affected. You should read this document carefully and consult your
attorney about your rights and the effect of this document. If you do not want the Court to
grant the requested relief, or you wish to have your views considered, you must file a
written response or objection to the requested relief with the Clerk of the United States
Bankruptcy Court for the Western District of Oklahoma, 215 Dean A. McGee Avenue,
Oklahoma City, OK 73102 no later than 14 (fourteen) days from the date of filing of this
request for relief. You should also serve a file stamped copy of your response to the
undersigned [and others who are required to be served] and file a certificate of service or
affidavit of service with the Court. If no response or objection is timely filed, the Court may
grant the requested relief without a hearing or further notice.

                                  NOTICE FOR HEARING
                        (TO BE HELD IF A RESPONSE IS FILED)
You are hereby notified that a hearing on Debtor’s Objection to Proof of Claim filed by
American Honda Finance Corporation is set for hearing on March 11, 2025, at 2:00
P.M., before Judge Loyd, 215 Dean A. McGee Avenue, 2nd Floor Courtroom, Oklahoma
City, Oklahoma. If no response is timely filed and the Court grants the requested relief
prior to the above-referenced hearing date, the hearing will be stricken from the docket
of the Court.
        COMES NOW the Debtor, by and through his attorney of record, Jeffrey E. West,
in the above captioned case, objects to the Limited Motion to Stay Order Pending
Determination of Appeal, filed by John Hardeman, Chapter 13 Trustee on February 11,
2025, and in support thereof alleges and states as follows:
       1.     That the debtor filed his Voluntary Petition for Relief under Chapter 13
              under the United States Bankruptcy Code on August 30, 2024. The case
              was confirmed on January 29, 2025.
       2.     Unsecured creditor, Humberto Trejo Dominguez, filed an Appeal
              challenging the Confirmation order in BAP No. WO-25-7 on February 5,
              2025.

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       3.     Debtor asserts that it is fundamentally unfair for the debtor to make his
              plan payments to the Trustee for his mortgage and the Trustee is not
              allowed to disburse those mortgage payments during the pendency of the
              Appeal. As of February 21, 2025, the debtor has paid $4,114.14 into the
              plan and is paying his plan payment of $1,796.37 in February 2025, and
              nothing has been disbursed. The debtor is complying with the Court’s
              order to make the plan payments timely.
       4.     Debtor asserts that if the mortgage company does not receive funds, a
              potential Motion for Relief may be filed, and the debtor may lose his home
              during the Appeal process. This is unfair to the debtor and the mortgage
              company and in contradiction of the spirit of bankruptcy.
       WHEREFORE, Debtors respectfully request that your Honorable Court allow the
Trustee’s Limited Motion to Stay Order Pending Determination of Appeal and set this
matter for a hearing on the merits and order such other and further relief as is just and
proper.
Dated: February 21, 2025.                 _/s/ Jeffrey E. West    _____
                                          JEFFREY E. WEST, OBA #18871
                                          Attorney for Debtor(s)
                                          2525 NW Expressway, Ste 531
                                          Oklahoma City, OK 73112
                                          (405) 616-4949
                                          (405) 225-2700 (fax)
                                          jeff@westbklaw.com

                                CERTIFICATE OF MAILING
       I certify that on the February 21, 2025, a true and correct copy of the above
Objection was electronically served using the CM/ECF system, namely: John
Hardeman, Chapter 13 Trustee. Further, I certify that on the February 21, 2025 copies
of the Objection were forwarded via U.S. Mail, first class, postage prepaid and properly
addressed to the following at the addresses shown below:

       John Hardeman               Humberto Trejo Dominquez
       PO Box 1948                 c/o Cody D. Kearns, Attorney for Dominquez
       OKC, OK 73101               110741 West 33rd Street, Suite 120
                                   Edmond, OK 73013

                                                        _/S/ Jeffrey E. West________
                                                        JEFFREY E. WEST

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